ELECTRONICALLY FILED - 2021 Jan 04 3:07 PM - CHARLESTON - COMMON PLEAS - CASE#2021CP1000011
                          Exhibit A
                                                                                                                              ELECTRONICALLY FILED - 2021 Jan 04 3:07 PM - CHARLESTON - COMMON PLEAS - CASE#2021CP1000011
                        Diocesan Priests with a Credible Allegation1 of
              Child Sexual Misconduct or Abuse2 within the Diocese of Charleston

      Last Name              First Name           Ordination Date                            Status

        Aiken                   Roy                  06/15/1946                  Deceased - 07/04/2006
      Bench, Jr.                John                 05/09/1964                  Deceased – 06/06/2009
      Berberich                 Peter                03/22/1947                  Deceased – 03/20/1997
        Burn                   William               05/25/1956                  Deceased – 05/29/2009
       Condon                  Eugene                05/26/1956                  Deceased – 05/24/2014
                                                                        Placed on administrative leave 09/23/2002
        Congro                   Basil               06/10/1978                and not allowed to function
                                                                                   as a Catholic priest
  DuMouchel                 Raymond                  05/10/1956                  Deceased – 09/10/2006
     Evatt                   Thomas                  12/18/1976                  Deceased – 07/18/2003
   Goodwin                    Justin                 06/10/1940                  Deceased – 12/25/1995
   Hopwood                  Frederick                06/09/1951                   Deceased – 04/30/17
      Lee                 Walter Pringle             05/19/1962                  Deceased – April 1981
   McLean                   Frederick                05/18/1944                  Deceased – 08/26/2010
   Moynihan              George Frederick            12/07/1974                  Deceased – 08/30/2004
    Murphy                Daniel Francis             12/08/1945                  Deceased – 07/21/1980
    Murphy                   Joseph                  04/24/1943                  Deceased – 08/24/1998
 Owens-Howard             James Robert               06/12/1957                  Deceased – 12/01/2015
   Ryfinski3                 Gerald                   04/7/1990                   Laicized – April 2007
     Seitz                     Paul                  05/17/1958          Retired 06/01/2002 – under restrictions
    Sheedy                   Charles                 05/16/1937                  Deceased – 07/06/1989
   Simonin                     John                  05/25/1947                  Deceased – 07/15/2010
   Vaverek                   Hayden                  07/02/1994                   Laicized – May 2016
  Williamson                  Louis                   5/26/1938                    Deceased – 6/20/62

  1
    According to the Diocese of Charleston’s Policy Concerning Allegations of Sexual Misconduct or Abuse of a
  Minor by Church Personnel (2012), a credible allegation is defined as “an accusation which at least seems to be
  true (Canon 1717, Section 1), and/or offers reasonable grounds for being believed. A credible allegation is not
  manifestly false.”
  2
   According to the Diocese of Charleston’s Policy Concerning Allegations of Sexual Misconduct or Abuse of a
  Minor by Church Personnel (2012), “Sexual misconduct or abuse of a minor includes sexual molestation or sexual
  exploitation of a minor and other behavior by which an adult uses a minor as an object of sexual gratification.
  Consequently, any act or attempt to commit any act of incest, rape, or a sexual offense in any degree, sodomy, or
  any unnatural or perverted sexual practice, lewd or indecent acts or proposals, including indecent touching or
  fondling, exploitation, or permitting, encouraging, assisting, or aiding a minor to participate in such acts, constitutes
  sexual misconduct or abuse of a minor. Sexual misconduct or abuse of a minor includes conduct or interaction with
  a minor that is external and an objectively grave violation of the Sixth Commandment. Such conduct does not need
  to be an act of intercourse involving force, physical contact or a discernable, harmful outcome.”
  3
      Unlike others on the list, this case involved possession of child pornography.
Page 1 of 4                                                                                           March 27,2020
                                                                                                               ELECTRONICALLY FILED - 2021 Jan 04 3:07 PM - CHARLESTON - COMMON PLEAS - CASE#2021CP1000011
                   Religious Order or Visiting Priests with a Credible Allegation of
                  Child Sexual Misconduct or Abuse within the Diocese of Charleston

                                        Ordination
   Last Name             First Name                          Affiliation                    Status
                                          Date
                                                     The Oratory of St. Philip
                                                                                  Served prison sentence and
Castano - Mejia       Juan Carlos       01/25/1991   Neri in Ipiales, Colombia,
                                                                                      was then deported
                                                                S.A.

                                                       Missionaries of Africa       Unknown - believed to
Collerett             Roger             06/19/1943
                                                      (White Fathers) - Canada     have returned to Canada

                                                      Visiting priest from the
Johnson               Anthony William     1962                                     Deceased – 03/01/2012
                                                      Diocese of Camden (NJ)
                                                                                   Dismissed from ministry
                                                       Visiting priest from the
Nyhan                 James               1973                                      by the Archdiocese of
                                                       Archdiocese of Boston
                                                                                           Boston
                                                      Visiting priest from the     Unknown – believed to
Palatore Belfiore     Cesare            12/03/1967   Diocese of San José (Costa    have returned to Costa
                                                               Rica)                        Rica

                                                      The Oratory of St. Philip
Sharples              James             05/30/1946                                 Deceased – 11/28/1974
                                                     Neri in Rock Hill, SC, USA




    Page 2 of 4                                                                        March 27,2020
                                                                                                                              ELECTRONICALLY FILED - 2021 Jan 04 3:07 PM - CHARLESTON - COMMON PLEAS - CASE#2021CP1000011
       Diocesan or Order Priests with a Credible Allegation of Child Sexual Misconduct
                        or Abuse Outside the Diocese of Charleston4

                                               Ordination
 Last Name             First Name                                           Affiliation                         Status
                                                 Date

       Dux                 John                  4/14/73                   Diocese of                Retired without faculties
                                                                          St. Augustine
                                                                        The Oratory of St.
  Gallagher                John                  5/26/47               Philip Neri in Rock             Deceased – 11/14/76
                                                                          Hill, SC, USA
                                                                       Visiting priest from
      Kelly5          Robert Joseph            07/13/1974                 the Diocese of                      Unknown
                                                                       Altoona- Johnstown
                                                                    Society of Jesus Order
Landwermeyer              Francis                  1966                                               Deceased – 09/05/2018
                                                                            (Jesuit)
  Mitchell                 John                05/24/1938            Paulist Fathers Order            Deceased – 12/18/1996
                                                                     Society of Jesus
      Park          Augustine “Austin”         06/14/1955                                                 Deceased - 2013
                                                                             Order (Jesuit)
                                                                                                       Retired from active
      Smith6         Gabriel “Gabe”            12/12/1982                Diocesan priest
                                                                                                      ministry – 12/31/2018
                                                                       Congregation of the
Spangenberg               Robert               06/15/1974                                             Deceased – 12/23/2006
                                                                        Holy Spirit Order
  Tierney                Thomas                09/20/1924             Paulist Fathers Order           Deceased – 12/24/1972

  4
   Priests who served in the Diocese of Charleston, with no accusations within this Diocese, but who have credible
  allegations of sexual abuse of minors that occurred in another jurisdiction.
  5
   Not Monsignor Robert Justin Kelly, who was a Diocesan priest

  6
    The allegation against Father Smith occurred eight years prior to his ordination and did not involve touching the
  minor. Father Smith voluntarily accepted administrative leave and removal of his ability to act as a priest pending final
  resolution of the matter. A subsequent decision by the Holy See in March 2004 concluded that Father Smith was not a
  risk to minors and required that he be returned to ministry.




      Page 3 of 4                                                                                       March 27,2020
                                                                                                                              ELECTRONICALLY FILED - 2021 Jan 04 3:07 PM - CHARLESTON - COMMON PLEAS - CASE#2021CP1000011
                   Priests who are Listed by Virtue of a Class Action Settlement
                             Payment as Determined by an Arbitrator

                                           Ordination
 Last Name            First Name                                      Affiliation                        Status
                                             Date
                                                                Visiting priest from the
  Eccleston               John             06/04/1955               Archdiocese of             Deceased – 02/09/2012
                                                                   Washington, DC
   Hubacz             Leon Joseph          11/13/1943               Diocesan priest            Deceased – 06/28/1999
  Kennedy                Ernest            05/26/1956               Diocesan priest           Deceased – 06/09/2017
  McElroy7               James             06/06/1920               Diocesan priest           Deceased – 07/05/1971
  Plikunas              Anthony            06/10/1933               Diocesan priest           Deceased – 11/28/1973
                                                                                            Left the Catholic priesthood
 Richardson         William “Bill”         12/12/1982               Diocesan priest
                                                                                                    in June 1983
    Suggs              Frederick           06/09/1946               Diocesan priest           Deceased – 08/26/1998
    Tawes              Creston J.          05/16/1959               Diocesan priest           Deceased – 08/04/1980

 7 The
         abuse asserted in this claim occurred in the 1940’s.


Footnotes
The list of names is a result of allegations received by the Diocese and a review of priest personnel files, as well as
relevant diocesan clergy or other files (including any files classified as confidential) to search for possible allegations
of sexual misconduct or abuse of a minor. The period covered is 1950 to the present.

Priests who had credible claims against them in addition to class action claims are included on sections of the list other
than the one entitled “Priests who are Listed by Virtue of a Class Action Settlement Payment as Determined by an
Arbitrator.”

There are two priests not included on the list although settlement payments were made to claimants:
(1) Two claims against a priest were made in connection with the 2007 class action settlement. The Diocese objected
    to the claims, but the arbitrator elected to award settlements over the Diocese’s objections. The independent
    Sexual Abuse Advisory Board reviewed the details of the claims and determined them not credible.
(2) An allegation against another priest was received after the priest’s death. Because the priest was deceased and not
    a threat to children, the allegation was not initially taken to the independent Sexual Abuse Advisory Board. The
    Board members reviewed the details of the claim and deemed it not credible.

Also omitted from the list are:
(1) Three priests who are the subject of litigation in currently pending civil lawsuits
(2) One priest who is the subject of an ongoing criminal investigation

Of the six omitted priests, all are deceased except for one who is on administrative leave pending resolution of
criminal charges.

This list will be updated as additional investigation and a review and determination of credibility are completed.




 Page 4 of 4                                                                                            March 27,2020
